

Matter of Scott (2019 NY Slip Op 08765)





Matter of Scott


2019 NY Slip Op 08765


Decided on December 5, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 5, 2019

PM-221-19

[*1]In the Matter of J. Jordan Scott, an Attorney. (Attorney Registration No. 4499505.)

Calendar Date: December 2, 2019

Before: Clark, J.P., Mulvey, Devine, Aarons and Reynolds Fitzgerald, JJ.


J. Jordan Scott, West Roxbury, Massachusetts, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.


Per Curiam.
J. Jordan Scott was admitted to practice by this Court in 2007 and lists a business address in West Roxbury, Massachusetts with the Office of Court Administration. Scott now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Scott's application.
Upon reading Scott's affidavit sworn to October 21, 2019 and filed November 1, 2019, and upon reading the November 19, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Scott is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Clark, J.P., Mulvey, Devine, Aarons and Reynolds Fitzgerald, JJ., concur.
ORDERED that J. Jordan Scott's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that J. Jordan Scott's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that J. Jordan Scott is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Scott is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that J. Jordan Scott shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








